        Case 3:19-cv-00314-BSM Document 26 Filed 11/02/20 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION

SOFIA E. GALVAN DE VALENZUELA                                             PLAINTIFF

v.                         Case No. 3:19-cv-00314-BSM

ANDREW SAUL, Commissioner
of Social Security Administration                                      DEFENDANT

                                       ORDER

      The proposed findings and recommendations (“recommendation”) from United States

Magistrate Judge J. Thomas Ray [Doc. No. 25] has been received. After careful review of

the record, the recommendation is adopted. The commissioner’s decision is affirmed, and

Valenzuela’s complaint is dismissed with prejudice.

      IT IS SO ORDERED this 2nd day of November, 2020.


                                                 UNITED STATES DISTRICT JUDGE
